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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE

10
                                                     Case No.: 2:21-mc-00024 RSL
11
                                                     Related Case No. 2:19-cv-02746-DWL
12                                                   U.S. District Court, District of Arizona
     In re Rule 45 Subpoena Directed to Tucows.com
13   Co                                              DEFENDANT GODADDY.COM,
                                                     LLC’S MEMORANDUM OF LAW IN
14                                                   SUPPORT OF MOTION TO
                                                     COMPEL RESPONSE TO RULE 45
15                                                   SUBPOENA DIRECTED TO
                                                     TUCOWS.COM CO
16

17                                                   NOTED ON MOTION CALENDAR:
                                                     Friday, March 12, 2021
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      DEFENDANT GODADDY.COM, LLC’S MEMORANDUM OF                         LAW OFFICES OF
                                                                      COZEN O’CONNOR
      LAW IN SUPPORT OF MOTION TO COMPEL RESPONSE TO               A PROFESSIONAL CORPORATION
                                                                         999 THIRD AVENUE
      RULE 45 SUBPOENA DIRECTED TO TUCOWS.COM CO - 1                        SUITE 1900
                                                                    SEATTLE, WASHINGTON 98104
                                                                         (206) 340-1000
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 1
     I.        INTRODUCTION
 2

 3             GoDaddy.com, LLC (“GoDaddy”) brings the instant motion to compel Tucows.com Co

 4   (“Tucows”) to comply with GoDaddy’s document subpoena, which GoDaddy served on Tucows

 5   on January 21, 2021. The return date on the subpoena was February 4, 2021, and to date, Tucows

 6   has not objected to the subpoena, or produced any documents in response to the subpoena.

 7   GoDaddy respectfully requests that the Court enter an order compelling Tucows to comply with

 8   this subpoena.

 9
     II.       FACTUAL AND PROCEDURAL BACKGROUND
10

11             This motion arises out of a subpoena served upon Tucows on January 21, 2021, in a

12   litigation matter entitled SiteLock, LLC v. GoDaddy.com, LLC, pending in the United States

13   District Court for the District of Arizona (Case No.: 2:19-cv-02746-DWL) (the “SiteLock

14   Action”). See Declaration of Paula L. Zecchini (“Zecchini Decl.”) ¶¶ 1-6, Ex. A. In the SiteLock

15   Action, Plaintiff SiteLock, LLC (“SiteLock”), has asserted, inter alia, breach of contract claims

16   related to a November 4, 2013 Reseller Agreement (“Reseller Agreement”) between GoDaddy

17   and SiteLock, which, in part, authorized GoDaddy to promote SiteLock’s off-the-rack software

18   products. Zecchini Decl. ¶ 2. GoDaddy’s Answer to SiteLock’s Complaint includes an

19   affirmative defense for set-off, see Dkt. No. 13 at 14,1 which is based in part on SiteLock’s

20   breach of a most favored nation (“MFN”) provision in the Reseller Agreement that obligated

21   SiteLock to ensure that GoDaddy was afforded “the lowest [pricing terms] offered by SiteLock

22   or any of its affiliates.” Dkt. No. 1-2, at 8; Zecchini Decl. ¶ 3. In the SiteLock Action, GoDaddy

23   sought discovery related to its defense based on SiteLock’s breach of the MFN provision, and

24   SiteLock ultimately produced—under a Court Order compelling their production—third party

25   reseller agreements that included SiteLock’s contract with Tucows. Zecchini Decl. ¶ 4. That

26   1
         Citations to the docket are to the corresponding entries in the SiteLock Action.
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 1   agreement indicates that SiteLock gave Tucows more favorable pricing terms than GoDaddy.

 2   Id. at ¶ 5. Therefore, GoDaddy served the subpoena on Tucows to obtain limited, narrow

 3   discovery from Tucows regarding (1) the lowest pricing terms SiteLock gave to Tucows, and

 4   (2) the features of the SiteLock products Tucows offered.2 See Zecchini Decl. ¶ 6, Ex. A. On

 5   January 6, 2021, the Court in the SiteLock Action denied SiteLock’s motion for protective order

 6   which concerned, in part, third party document subpoenas GoDaddy had served on other entities

 7   seeking the same categories of information sought in the Tucows subpoena. See Dkt. No. 248;

 8   Zecchini Decl. ¶ 9.

 9            The time specified for compliance in the subpoena that GoDaddy served on Tucows was

10   February 4, 2021. Zecchini Decl. ¶ 6, Ex. A. The location specified for compliance was

11   “Produce electronically to Paula Zecchini, Cozen O’Connor, 999 Third Avenue, Suite 1900,

12   Seattle, WA 98104 at PZecchini@cozen.com.” Id. Tucows has not, to date, produced any

13   documents in response to the subpoena, or served any response or objection to the subpoena. Id.

14   at ¶ 8. SiteLock has not, to date, served any objection or responses to the subpoena, nor has it

15   made any effort to address the subpoena with GoDaddy, either independently or on Tucows’s

16   behalf. Id. at ¶ 9.

17
     III.     LEGAL STANDARD
18

19            The Federal Rules of Civil Procedure allow a party to obtain from a non-party discovery

20   materials of any non-privileged matter that is relevant to a claim or defense of any party. See

21   Fed. R. Civ. Pro. 45(a)(1)(C); Fed. R. Civ. Pro. 26(b)(1). The “scope of discovery through a

22   subpoena is the same as that applicable to Rule 34 and other discovery rules.” Gonzales v.

23   Google, Inc., 234 F.R.D. 674, 679 (N.D. Cal. 2006); see also Lewin v. Nackard Bottling Co.,

24   No. CV 10-8041-PCT-FJM, 2010 WL 4607402, at *1 n.1 (D. Ariz. Nov. 4, 2010). Relevance

25   2
       Although the products in the Tucows agreement have the same names as the products in
     SiteLock’s agreement with GoDaddy, SiteLock has argued that identically named products may
26   have different features.
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 1   is “construed broadly to encompass any matter that bears on, or that reasonably could lead to

 2   other matter that could bear on, any issue that is or may be in the case.” Berwick v. Hartford

 3   Fire Ins. Co., No. MC 12-00055-PHX-FJM, 2012 WL 2856117, at *1 (D. Ariz. July 11, 2012)

 4   (quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978) (quotation marks

 5   omitted)).

 6          Fed. R. Civ. P. 45(d)(2)(B) requires that the recipient of a subpoena duces tecum serve

 7   any objections to it within 14 days after service or before the time specified for compliance,

 8   whichever is earlier. “[F]ailure to timely object waives the right to object later.” Cen Com Inc.

 9   v. Numerex Corp., No. C17-0560 RSM, 2018 WL 1737943, at *2 (W.D. Wash., Apr. 11, 2018);

10   see also Voxpath RS, LLC v. LG Elecs. U.S.A., Inc., No. MC 13-004- TUC-CKJ, 2013 WL

11   5744045, at *3 (D. Ariz. Oct. 23, 2013) (“[A] nonparty’s failure to timely make objections to a

12   Rule 45 subpoena duces tecum generally requires the court to find that any objection has been

13   waived.”); Avila v. Cate, No. 1:09cv918-LJO-SKO, 2013 WL 428732, at *2-3 (E.D. Cal. Feb.

14   1, 2013) (same); McCoy v. Sw. Airlines Co., Inc., 211 F.R.D. 381, 385 (C.D. Cal. 2002) (same).

15   “Upon failing to obey a lawful subpoena without an adequate excuse, a recipient may be held in

16   contempt.” Malden Transportation, Inc. v. Uber Technologies, Inc., No. C18-1592RSM, 2018

17   WL 5808422, at *1 (W.D. Wash., Nov. 6, 2018) (citing Fed. R. Civ. P. 45(g)).

18   IV.    TUCOWS MUST PRODUCE RESPONSIVE DOCUMENTS
19
            Tucows was served with GoDaddy’s subpoena on January 21, 2021. See Zecchini Decl.
20
     ¶ 6, Ex. A. The subpoena required that Tucows produce documents by February 4, 2021. See
21
     id. As such, Tucows’s objections or responses to the subpoena were due on or before February
22
     4, 2021. To date, Tucows has failed to provide any response to the subpoena. See id. at ¶ 8.
23
     Tucows has therefore waived all grounds for objection. See McCoy, 211 F.R.D. at 385; see also
24
     Voxpath RS, LLC, 2013 WL 5744045, at *3; United States ex rel. Schwartz v. TRW, Inc., 211
25
     F.R.D. 388, 392 (C.D. Cal. 2002); Wade v. City of Fruitland, 287 F.R.D. 638, 641 (D. Idaho
26
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 1   2013).     As such, Tucows should be ordered to comply with the subpoena.                    Malden

 2   Transportation, Inc., 2018 WL 5808422, at *2 (granting motion to compel out-of-district

 3   subpoenaed documents when recipient failed to object or move to quash or modify subpoenas).

 4   Allowing a subpoena recipient to disregard a subpoena in its entirety would render Rule 45 a

 5   nullity and enable recipients to openly disobey a court order. See, e.g., United States Sec. &

 6   Exch. Comm’n v. Hyatt, 621 F.3d 687, 693 (7th Cir. 2010) (explaining that a Rule 45 subpoena

 7   is a “court order subject to contempt sanctions if disobeyed”).

 8            Although Tucows waived any and all objections to the subpoena, if Tucows files a

 9   response, Tucows may attempt to argue that the subpoena did not command production of

10   documents within “100 miles of where the person resides, is employed, or regularly transacts

11   business in person.” Fed. R. Civ. Proc. 45(c)(2)(A). Such an objection would be meritless.

12   First, Tucows waived any objection under that rule. See Sol v. Whiting, No. CV-10-01061-PHX-

13   SRB 2014 WL 12526314, at *2 (D. Ariz., July 22, 2014) (concluding that defendant waived

14   objection to subpoena and stating “nothing in Rule 45 or elsewhere suggests that the rules for

15   asserting timely objections do not apply when the 100-mile rule is the basis for an objection”).

16   Second, “numerous courts have compelled compliance with a subpoena duces tecum that

17   required the production of documents more than 100 miles from where the recipient resided,

18   worked, or regularly transacted business.” Sol, 2014 WL 12526314, at *2; See also Walker v.

19   Ctr. for Food Safety, 667 F. Supp. 2d 133, 138 (D.D.C. 2009) (“[T]he 100 mile limit applies to

20   travel by a subpoenaed person, but a person commanded to produce documents need not appear

21   in person at the place of production or inspection.” (internal quotation marks omitted)); Jett v.

22   Penner, No. S02-2036 GEBJFMP, 2007 WL 127790, at *2 (E.D. Cal. Jan. 12, 2007) (holding

23   subpoenaed party was not excused on the ground that the requested records were located more

24   than 100 miles from the place they were to be produced when there was no requirement to travel

25   to deliver the records). This is particularly true when the subpoena at issue requests that

26   documents be provided electronically. Cen Com Inc., 2018 WL 1737943, at *2 (holding

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 1   subpoenas complied with Rule 45 because “[t]hey do not ask the individuals to travel more than

 2   100 miles from where they live or work; rather, Defendants have requested that the documents

 3   be provided electronically”); see also Curtis v. Progressive Northern Insurance Company, No.

 4   CIV-17-1076-C, 2018 WL 2976432, at *2 (W.D. Okla., June 13, 2018) (granting motion to

 5   compel when the “subpoena at issue [did] not require the travel or attendance of any witnesses

 6   and Plaintiff [was] requesting the production of electronic documents.”).

 7          Further, the subpoena set forth targeted, limited document requests to obtain information

 8   that is critical to GoDaddy’s defenses to SiteLock’s claims. In the SiteLock Action, GoDaddy

 9   contends that SiteLock gave better pricing terms to other reseller partners in direct violation of

10   SiteLock’s obligation to provide GoDaddy with the most favorable pricing terms. See Dkt. No.

11   248 at 24-26 (denying SiteLock’s motion for protective order with regard to the type of

12   information sought by the subpoena, and finding that it was relevant to GoDaddy’s defenses to

13   SiteLock’s claims). The requests in the subpoena are specifically and narrowly targeted to

14   individual SiteLock products set forth in Tucows’s reseller agreement with SiteLock, and merely

15   demand documents “sufficient to show” (1) if SiteLock ever agreed to pricing terms with

16   Tucows below the terms set forth in Tucows’s contract with SiteLock, and (2) the features of

17   those products. Tucows should therefore be directed to fully comply with the subpoena.

18   V.     CONCLUSION

19          WHEREFORE, GoDaddy respectfully requests that this Court issue an order compelling

20   Tucows to produce all documents responsive to the requests in the subpoena within ten (10) days

21   of the resolution of this motion.

22   //

23   //

24   //

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 1   DATED: February 25, 2021            COZEN O’CONNOR

 2

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10
                                         Attorneys for Defendant GoDaddy.com, LLC.
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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that I served the foregoing document via electronic mail on February

 3   25, 2021, and due to COVID-19 restrictions via overnight mail on February 26, 2021, to the

 4   following:

 5    Thomas A. Gilson                               Kevin B. Huff
      Beus Gilbert PLLC                              Thomas G. Schultz
 6    701 N. 44th Street                             Leslie V. Pope
      Phoenix, Arizona 85008                         Kellogg, Hansen, et al.
 7    (480) 429-3000                                 1615 M Street, N.W. Suite 400
      tgilson@beusgilbert.com                        Washington, DC 20036
 8                                                   (202) 326-7900
      Counsel for Plaintiff                          khuff@kellogghansen.com
 9                                                   tschultz@kellogghansen.com
                                                     lpope@kellogghansen.com
10
            I further certify that the foregoing documents have been sent out for personal service,
11
     and due to COVID-19 restrictions were also served via overnight mail on February 26, 2021
12
     on the following:
13
            Tucows.com Co
14
            251 Little Falls Drive
15          Wilmington, DE 19808

16
     DATED: February 25, 2021
17
                                                  COZEN O’CONNOR
18

19
                                                  By: s/ Paula Zecchini
20                                                   Paula Zecchini

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